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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

THEREA KENNEDY; SANTIAGO BRAVO;
and JOHN PLUMMER, individually and
on behalf of others similarly situated,
                                                  No. 20 C 1440
              Plaintiffs,
                                                  Judge Thomas M. Durkin
       v.

CITY OF CHICAGO,

              Defendant.

                        MEMORANDUM OPINION AND ORDER

      Plaintiffs alleged that their Fourth and Fourteenth Amendment rights were

violated when they were not permitted to post bond at a Chicago Police station

immediately after their arrest, but instead were detained until they could be

presented to a judge in bond court the next day. The Court granted Defendant City

of Chicago’s motion to dismiss the Fourth Amendment claims as to all three Plaintiffs,

and the Fourteenth Amendment claim with respect to Plaintiff Santiago Bravo who

was arrested on a non-Chicago warrant. The Court denied the motion to dismiss the

Fourteenth Amendment claim with respect to Plaintiffs Therea Kennedy and John

Plummer who were arrested on Chicago warrants. The City has moved for judgment

on the pleadings on the remaining Fourteenth Amendment claims regarding Chicago

warrants, and Plaintiffs have moved have moved to reconsider the dismissal of

Bravo’s Fourteenth Amendment claim regarding non-Chicago warrants. The City’s

motion is granted and Plaintiffs’ motion is denied.
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       In briefing the previous motion, the City argued that “the Police Department

is justified in not releasing people arrested on non-Chicago warrants because, unlike

Chicago warrants, non-Chicago warrants cannot be validated through the Chicago

Police Department’s ‘CLEAR’ system.” See R. 179 at 10. With regard to Bravo’s non-

Chicago warrant claim, the Court found that the City’s “justification is conceivably

and rationally related to the legitimate purpose of ensuring that non-Chicago

warrants are properly administered,” and dismissed the claim. See R. 184 at 5.

       However, with regard to Kennedy’s and Plummer’s claims about Chicago

warrants, the Court found the following:

              The CLEAR system is presumably accessible on weekends
              just as it is on weekdays; at least the City does not contend
              otherwise. If Chicago Police officers can confirm Chicago
              warrants on weekends just as easily as they can be
              confirmed on weekdays, then there is no “readily apparent”
              reason, see Wroblewski, 965 F.2d at 460, for prohibiting
              weekend arrestees on Chicago warrants from posting the
              bond specified in their warrant at the police station
              without waiting to see a judge.

Id. at 5-6.

       Different from its previous motion to dismiss, the City now argues that its

policy of requiring bail hearings for people arrested on Chicago warrants on the

weekends (rather than permitting them to pay the bond at police station) is required

by Circuit Court General Administrative Order No. 2004-02 which provides:

              Individuals with Warrants returnable within the First
              Municipal District are to be transported directly to the
              Branch Court on regularly-scheduled court date(s); on
              Saturday, Sunday, Holidays [sic] the Warrants are
              returnable to Central Bond Court.



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R. 188-1 at 2. The City argues that Order 2004-02 is a “command of state law” and

that it cannot be liable for any civil rights violation that results from following that

command. See Bethesda Lutheran Homes and Services, Inc. v. Leean, 154 F.3d 716

(7th Cir. 1998). The Seventh Circuit explained in Bethesda that a local government

cannot be liable for an alleged civil rights violation that results from following a state

law “command” because “it is the policy contained in that state . . . law, rather than

anything devised or adopted by the municipality, that is responsible for [the

plaintiff’s] injury.” Id. at 718. Put another way, no “direct causal link exists when the

only local government ‘policy’ at issue is general compliance with the dictates of state

law[;] . . . under those circumstances, the state law [and not the local government

policy] is the proximate cause of the plaintiff’s injury.” Snyder v. King, 745 F.3d 242,

247 (7th Cir. 2014).

      The previous judge on this case already found that a different Cook County

Circuit Court General Order qualified as a “command of state law.” See R. 136 at 5-

6. This is because Illinois courts have found that under Illinois law, Circuit Court

General Orders have the force of law. See Davidson v. Davidson, 612 N.E.2d 71, 72

(Ill. App. Ct. 1st Dist. 1993) (“[T]he judicial branch of government possesses the

constitutional authority to promulgate procedural rules to facilitate the discharge of

its constitutional duties.”). Another judge in this district made a similar finding in

the context of claims similar to those at issue here. See Alcorn v. City of Chicago, 2022

WL 4483834, at *6 (N.D. Ill. Sept. 27, 2022) (holding that General Administrative

Order No. 2015-06 “was a valid, nondiscretionary promulgation of instructions for



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court procedures of arrests on out-of-county warrants”). Accordingly, for persons

arrested on the weekend on warrants issued in Chicago, it is the Circuit Court’s

General Order, not the Police Department’s compliance with it, “that is responsible

for [Plaintiffs’] injury.” See Bethesda, 154 F.3d at 718.

      Plaintiffs do not dispute this legal analysis. Instead, they challenge the

“vitality” of Order 2004-02. See R. 193 at 11. First, they argue that the Order is invalid

because it was issued by the presiding judge of a court division, rather than the chief

circuit judge. Contrary to Plaintiffs’ argument, however, Illinois courts have

consistently held that Supreme Court Rule 21(e) allows chief circuit judges to

delegate rule-making power to the presiding judges of different divisions within the

circuit court. See OneWest Bank, FSB v. Markowicz, 968 N.E.2d 726, 731 (Ill. App.

Ct. 1st Dist. 2012) (“We interpret Rule 21[e] as allowing the chief judge to delegate

his or her Rule 21[e] authority, including his or her authority to issue general orders,

to the presiding judges in the divisions of the circuit court, including, as here, his or

her authority to issue general administrative orders.”); U.S. Bank, N.A. v. Dzis, 957

N.E.2d 1183, 1188 (Ill. App. Ct. 1st Dist. 2011) (same); Blair v. Mackoff, 672 N.E.2d

895, 900 (Ill. App. Ct. 1st Dist. 1996) (same). Notably, the Illinois Appellate Court has

specifically rejected the same argument Plaintiffs make here, finding Rule 21(e)

“authorized the presiding judge of the chancery division to enter general orders in the

exercise of her general administrative authority.” U.S. Bank, 957 N.E.2d at 1188.

And contrary to Plaintiffs’ argument, there is no authority requiring that the chief

circuit judge make a specific delegation of rule-making authority to presiding judges



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before presiding judges may issue general orders. Rather, Illinois courts have held

that Rule 21(e) by itself provides the authority for presiding judges to issue general

orders. Thus, it was within in the presiding judge’s authority to issue Order 2004-02.

      Plaintiffs next argue that Order 2004-02 was not in affect at the time of

Plaintiffs’ arrests because it had been superseded by other orders. Plaintiffs cite

numerous general orders and general administrative orders, which they contend

undermine the force of Order 2004-02. But Plaintiffs do not argue that any of these

orders expressly superseded or nullified Order 2004-02 regarding posting bail for

Chicago warrants. Plaintiffs also do not argue that any of the orders they cite

addressed the bail payment on weekends. Rather, Plaintiffs cite provisions from

several orders regarding bail payments at police stations in general, and other

provisions about non-Chicago warrants, to surmise that weekend arrestees should be

allowed to post bail at police stations on weekends. For instance, Plaintiffs cite

General Order 2015-06 which provides that “when the defendant is able to post the

bail set on the warrant . . . the defendant shall be admitted to bail and scheduled for

a court appearance in the county of the demanding authority.” See R. 115-1 at 2. But

General Order 2015-06 concerns “arrests on . . . warrants issued outside of Cook

County,” and it also provides that such arrestees are “required to appear in bond

court.” Id. This order is not an indication that the Circuit Court intended to repeal

the command in Order 2004-02 that weekend arrestees on Chicago warrants be

required to appear in bond court. At bottom, Plaintiffs cite no order that expressly

contradicts or supersedes Order 2004-02.



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      In general, Plaintiffs argue that there is no Circuit Court order that “directed

the Chicago Police Department to refuse to accept bond from persons arrested on a

warrant, whether the warrant was returnable in Chicago on a weekend or holiday, in

a suburban county, or issued outside of Cook County.” R. 193 at 3. This, however, is

too narrow a reading of Order 2004-02. While Order 2004-02 does not expressly

prohibit the Police Department from accepting bond payments on the weekends, it

orders the Police Department to deliver weekend arrestees to the Bond Court. That

order effectively prohibits taking bond payments at police stations.

      In addition to opposing the City’s motion for judgment on the pleadings on

Plaintiffs’ claims regarding Chicago warrants, Plaintiffs seek reconsideration of the

Court’s prior dismissal of their claims regarding non-Chicago warrants. They argue

that the Court’s reasoning based on the CLEAR system was factually erroneous. That

argument, however, is now moot is light of the Court’s finding that Order 2004-02

commands all weekend arrestees appear in bond court, whether arrested on a

Chicago or non-Chicago warrant. For that reason, Plaintiffs motion to reconsider is

denied.




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                                     Conclusion

       Therefore, the City’s motion for judgment on the pleadings [188] is granted and

Plaintiffs’ motion for reconsideration [189] is denied. Plaintiffs’ claims are dismissed

with prejudice because they have already had two opportunities to amend their

complaint plus this motion for reconsideration. Judgment will be separately entered

in the City’s favor.

                                                      ENTERED:


                                                      ______________________________
                                                      Honorable Thomas M. Durkin
                                                      United States District Judge
Dated: November 6, 2024




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